3728125, TASAM Case 8:25-cv-00951-PX Document 3" PiaeO3/34/25 Page 1 of 3

Court Closures Today March 24, 2025

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Home > ABREGO-GARCIA, KILMER ARMADO (201-577-119)

Automated Case Information

Name: ABREGO-GARCIA, KILMER ARMADO | A-Number:
201-577-119

=: Next Hearing Information

There are no future hearings for this case.

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=~ Court Decision and Motion Information

The immigration judge GRANTED an application.

DECISION DATE

https://acis. eoir.justice.gov/en/caselnformation 1/3
3728125, TASAM Case 8:25-cv-00951-PX Document 13" “PieeO3/34/25 Page 2 of 3
October 10, 2019

COURT ADDRESS
31 HOPKINS PLAZA, ROOM 440
BALTIMORE, MD 21201

’ BIA Case Information

No appeal was received for this case.

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I) Court Contact Information

If you require further information regarding your case, or wish to file
additional documents, please contact the immigration court.

COURT ADDRESS
31 HOPKINS PLAZA, ROOM 440
BALTIMORE, MD 21201

PHONE NUMBER
(410) 962-3092

https://acis. eoir.justice.gov/en/caselnformation

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